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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 JOHN DOE,

                                        Plaintiff,
                – versus –
 UNITED STATES OF AMERICA and U.S.                   Case No. 1:21-cv-1697-TSC
 DEPARTMENT OF STATE,
                                                     PLAINTIFF’S NOTICE OF VOLUNTARY
                                                     DISMISSAL
                Defendants.



       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff, by and through

undersigned counsel, hereby voluntarily dismisses without prejudice the above-captioned action.

See also Fed. R. Civ. P. 41(a)(1)(B). This notice is self-executing. See Randall v. Merrill Lynch,

820 F.2d 1317, 1320 (D.C. Cir. 1987).



 Dated: January 24, 2022                             Respectfully submitted,

                                                      /s/ Kathryn Austin
                                                     Kathryn Austin (D.D.C. Bar No. NY0331)
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                                                     Alexandra Zaretsky (D.D.C. Bar No. NY0434)
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